             Case 1:18-cv-00295-LY Document 52 Filed 10/26/18 Page 1 of 3



                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                   AUSTIN DIVISION


COMMUNITY FINANCIAL SERVICES
ASSOCIATION OF AMERICA, LTD., and
CONSUMER SERVICE ALLIANCE OF
TEXAS,
                                                    Civil Action No. 1:18-cv-295
     Plaintiffs,

v.

CONSUMER FINANCIAL PROTECTION
BUREAU and JOHN MICHAEL
MULVANEY, in his official capacity as
Acting Director, Consumer Financial
Protection Bureau,

     Defendants.



                                    JOINT STATUS REPORT

         Plaintiffs Community Financial Services Association of America, Ltd., and Consumer

Service Alliance of Texas, together with Defendants the Bureau of Consumer Financial

Protection (Bureau) and John Michael Mulvaney, in his official capacity as Acting Director of

the Bureau, (collectively, the “Parties”) submit this Joint Status Report pursuant to the Court’s

Order dated August 28, 2018 (ECF No. 39).

         In this litigation, Plaintiffs challenge the Bureau’s “Payday, Vehicle Title, and Certain

High-Cost Installment Loans” rule (“Payday Rule” or “Rule”). As previously reported to the

Court, the Bureau intends to engage in a rulemaking process to reconsider that Rule. The Bureau

can now report that it intends to issue notices of proposed rulemaking in January 2019 to

reconsider the Rule and address the Rule’s compliance date, which is currently scheduled for
           Case 1:18-cv-00295-LY Document 52 Filed 10/26/18 Page 2 of 3



August 19, 2019. More specifically, as the Bureau announced on October 26, 2018, it currently

plans to propose revisiting the Rule’s provisions that require lenders to assess borrowers’ ability

to repay before making covered loans, but not provisions that apply to lenders’ withdrawing

payments for covered loans from consumers’ bank accounts. See Public Statement Regarding

Payday Rule Reconsideration and Delay of Compliance Date (Oct. 26, 2018),

https://go.usa.gov/xPPuR. We note that Plaintiffs have challenged both aspects of the Rule in

this litigation. The Bureau will not make final decisions regarding the scope of the proposed

rules until closer to their issuance.

Dated: October 26, 2018

Respectfully submitted,

MARY McLEOD                                          /s/ Michael A. Carvin
General Counsel                                        MICHAEL A. CARVIN
JOHN R. COLEMAN                                         D.C. Bar No. 366784
Deputy General Counsel                                  Admitted pro hac vice
                                                        macarvin@jonesday.com
STEVEN Y. BRESSLER                                     CHRISTIAN G. VERGONIS
Assistant General Counsel                               D.C. Bar No. 483293
                                                        Admitted pro hac vice
 /s/ Kristin Bateman                                    cvergonis@jonesday.com
KRISTIN BATEMAN (Cal. Bar No. 270913)                  JONES DAY
KEVIN FRIEDL (NY Bar No. 5240080)                      51 Louisiana Avenue NW
NANDAN JOSHI (DC Bar No. 456750)                       Washington, DC 20001
Attorneys                                              Telephone: (202) 879-3939
Consumer Financial Protection Bureau                   Facsimile: (202) 626-1700
1700 G Street, NW
Legal Division                                        LAURA JANE DURFEE
Washington, D.C. 20552                                 Texas Bar No. 24069653
Telephone: (202) 435-7821                              ldurfee@jonesday.com
Fax: (202) 435-7024                                   JONES DAY
Kristin.Bateman@cfpb.gov                              2727 North Hardwood Street
                                                      Dallas, TX 75201
Counsel for Defendants Consumer Financial             Telephone: (214) 220-3939
Protection Bureau and John Michael                    Facsimile: (214) 969-5100
Mulvaney
                                                     Counsel for Plaintiffs



                                                 2
           Case 1:18-cv-00295-LY Document 52 Filed 10/26/18 Page 3 of 3



                                 CERTIFICATE OF SERVICE

I hereby certify that on October 26, 2018, I electronically filed the foregoing with the Clerk of
Court using the CM/ECF system, which will send notification of such filing to the following:

Michael A. Carvin
Christian G. Vergonis
Jones Day
51 Louisiana Ave., NW
Washington, DC 20001-2113

Laura Jane Durfee
Jones Day
2727 N. Harwood
Dallas, TX 75201



                                              /s/ Kristin Bateman
                                              Kristin Bateman
                                              Counsel for Defendants
